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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE:                                          §
                                                §
ARLINGTON DOUBLE DOWN                           §
ENTERPRISES, LLC                                §           CASE NO. 21-40796
                                                §              (Chapter 11)
DEBTOR                                          §

          MOTION FOR INTERIM AND FINAL ORDERS AUTHORIZING
       CASH COLLATERAL USE AND GRANTING ADEQUATE PROTECTION

                        14-DAY NEGATIVE NOTICE – LBR 4001(a):

Your rights may be affected by the relief sought in this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy case.
If you oppose the relief sought by this pleading, you must file a written objection, explaining
the factual and/or legal basis for opposing the relief.

No hearing will be conducted on this Motion unless a written objection is filed with the Clerk
of the United States Bankruptcy Court and served upon the party filing this pleading
WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE shown in the certificate
of service unless the Court shortens or extends the time for filing such objection. If no
objection is timely served and filed, this pleading shall be deemed to be unopposed, and the
Court may enter an order granting the relief sought. If an objection is filed and served in a
timely manner, the Court will thereafter set a hearing with appropriate notice. If you fail to
appear at the hearing, your objection may be stricken. The Court reserves the right to set a
hearing on any matter.

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

         Arlington Double Down Enterprises, LLC (the “Debtor”), debtor and debtor in possession,

files this Motion for Interim and Final Orders Authorizing Cash Collateral Use and Granting

Adequate Protection (the “Motion”) as follows:

                       Jurisdiction, Venue, and Procedural Background

         1.     This Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. §§ 1334 and 157. This Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(D),

(K), (M), and (O). Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.



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          2.   The Court may grant the relief requested by this Motion pursuant to 11 U.S.C. §§

105 and 363 and FED. R. BANKR. P. 4001(b).

          3.   On May 28, 2021 (the “Petition Date”), the Debtor filed a voluntary petition in this

Court under Subchapter V of Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101,

et seq.

          4.   The Debtor is operating as debtor in possession under 11 U.S.C. §§ 1107 and 1108.

                                      Factual Background

          5.   The Debtor owns and operates a Mellow Mushroom franchise pizzeria and bar

located at 200 N Center St, Arlington, TX 76011. The store serves dine-in and takeout food and

alcohol.

          6.   The Debtor has approximately twenty-eight (28) employees paid on a semi-

monthly basis. In addition to payroll, the Debtor’s primary expenses include utility obligations,

food and alcohol inventory, and franchisee royalties.

          7.   The Debtor has a need to utilize cash, accounts receivables and inventory in the

operation of its business.

          8.   Truist Bank f/k/a Branch Banking and Trust Company (“Truist”) asserts a security

interest in the Debtor’s cash collateral secured by a recorded UCC financing statement filed on

May 23, 2011 in which Truist asserts a lien against all assets, including all accounts, account

receivables and inventory.

          9.   In order to operate, the Debtor must be able to use the cash in its bank accounts and

the proceeds of its receivables to pay its employees and other expenses of operation. Such cash

and proceeds are arguably the cash collateral of Truist within the meaning of 11 U.S.C. § 363(a)




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(“Cash Collateral”). Truist is the only party known to assert an interest in Cash Collateral. The

address of Truist is set forth in the Certificate of Service hereinbelow.

                                         Relief Requested

         10.   Pursuant to 11 U.S.C. §§ 361 and 363, the Debtor hereby seeks, inter alia, (a)

interim authority to use Cash Collateral in accordance with the terms and conditions set forth

herein, the budget attached hereto as Exhibit “A” (as may be supplemented from time to time, the

“Budget”), and the proposed interim order attached hereto (the “Interim Order”); (b) authority to

use Cash Collateral on a final basis following the conclusion of a final hearing on this Motion; and

(c) the grant of adequate protection to Truist as more particularly set forth herein and in the Interim

Order.

A.       Immediate Need for Use of Cash Collateral

         11.   The Debtor has an immediate need to use Cash Collateral, including cash proceeds,

to pay its employees and other operating expenses. Without access to such funds, the Debtor will

not be able to pay these expenses.

         12.   The Debtor requests interim authorization to use Cash Collateral as set forth in the

Budget until a final order granting further use of Cash Collateral can be entered. Because the

Debtor’s request for interim authorization seeks the use of only that amount of Cash Collateral as

is necessary to avoid immediate and irreparable harm to the value of the estate pending a final

hearing, its request complies with FED. R. BANKR. P. 4001(b)(2).

         13.   The Budget includes a list of business expenses that are reasonable and necessary

and that must be paid until such time as a final hearing on the Motion can be held. The Debtor has

also budgeted a carve out for administrative expenses of $1,500 each month. These business




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expenses are reasonable and necessary and must be paid until such time as the Debtor can reach

confirmation.

        14.     The Debtor also requests that the Court authorize it to continue to use Cash

Collateral on a final basis as set forth in the Budget.

B.      Grant of Adequate Protection

        15.     The Debtor proposes to adequately protect the interest of Truist in any prepetition

collateral by granting Truist replacement liens in estate property pursuant to 11 U.S.C. § 361(2)

(the “Replacement Liens”). Subject to prior perfected and unavoidable liens and security interests,

if any, and only to the extent of any actual diminution in the value of Truist’s interests in Cash

Collateral as a result of the Debtor’s use thereof, the Debtor proposes to grant the Replacement

Liens upon all property and assets of the estate in which Truist held a validly perfected and non-

avoidable lien or right of setoff as of the Petition Date. The Debtor does not propose to grant any

liens in avoidance actions under Chapter 5 of the Bankruptcy Code or the proceeds thereof.

        WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests that this

Court enter an Order (a) authorizing, on an interim and final basis, the Debtor’s use of the Cash

Collateral; (b) granting adequate protection to Truist as set forth herein and in the Interim Order;

and (c) granting the Debtor such other and further relief to which it may be justly entitled.




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                                                    Respectfully submitted,

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                                                     WINSLETT & MOSER, P.C.
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                                                    Dallas, Texas 75201-4240
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                                                    By:    /s/ John Paul Stanford
                                                          Christopher J. Moser
                                                          State Bar No. 14572500
                                                          John Paul Stanford
                                                          State Bar No. 19037350
                                                          Frank (Faizan) S. Patel
                                                          State Bar No. 24116882

                                                    PROPOSED ATTORNEY’S FOR DEBTOR



                               CERTIFICATE OF SERVICE

        I hereby certify that on May 28, 2021, a true and correct copy of the foregoing document
has been served in the manner indicated below, electronic mail via the Court’s ECF system, and/or
U.S. first class mail, postage prepaid, upon those listed on the attached service list.

Office of the U.S. Trustee                    Office of the Attorney General
110 N College Ave #300                        Main Justice Building, Room 5111
Tyler, TX 75702                               10th Street & Constitution Ave, N.W.
                                              Washington, DC 20530
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                                                            /s/ John Paul Stanford


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